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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                   7    SERGIO L. RAMIREZ,                                 Case No.12-cv-00632-JSC
                                                       Plaintiff,
                                   8
                                                                                           ORDER RE: PLAINTIFF SERGIO
                                                v.                                         RAMIREZ’S MOTION FOR A
                                   9
                                                                                           SERVICE AWARD
                                  10    TRANS UNION, LLC,
                                                                                           Re: Dkt. No. 322
                                                       Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          Plaintiff Sergio Ramirez filed this class action suit against Defendant Trans Union, LLC, in

                                  14   2012 alleging violations of the Fair Credit Reporting Act, 15 U.S.C. § 1681 et seq. In particular,

                                  15   Plaintiff challenged the legality of a service Trans Union provides to its customers which

                                  16   identifies persons whose names match individuals (known as Specially Designated Nationals or

                                  17   SDNs) on the United States government’s list of terrorists, drug traffickers, and others with whom

                                  18   Americans are prohibited from doing business. The service is known as an OFAC Name Screen

                                  19   Alert or OFAC Alert. At particular issue in this case are Trans Union’s business practices with

                                  20   respect to this product during a six-month period from January to July 2011 during which time

                                  21   Trans Union used a name-only matching protocol.

                                  22          Following a week-long trial, a jury found in favor of Plaintiff and the class and awarded

                                  23   over $60 million in statutory and punitive damages. Plaintiff Ramirez now seeks a service award

                                  24   to compensate him for his service to the class. (Dkt. No. 322.) Trans Union does not oppose

                                  25   Plaintiff’s request. Having considered Plaintiff’s arguments and having had the benefit of oral

                                  26   argument on October 5, 2017, Plaintiff’s motion for a service award is GRANTED. Plaintiff is

                                  27   awarded $75,000 which is less than one percent of the total damages award.

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                                   1                                              DISCUSSION

                                   2          Service or incentive awards, as they are also referred to, are “fairly typical” in class action

                                   3   cases and are “generally sought after a settlement or verdict has been achieved.” Rodriguez v. W.

                                   4   Publ’g Corp., 563 F.3d 948, 958–59 (9th Cir. 2009). The awards are discretionary and “are

                                   5   intended to compensate class representatives for work done on behalf of the class, to make up for

                                   6   financial or reputational risk undertaken in bringing the action, and, sometimes, to recognize their

                                   7   willingness to act as a private attorney general.” Id. Courts use the following factors to assess the

                                   8   reasonableness of the award:

                                   9                  (1) the risk to the class representative in commencing a suit, both
                                                      financial and otherwise; (2) the notoriety and personal difficulties
                                  10                  encountered by the class representative; (3) the amount of time and
                                                      effort spent by the class representative; (4) the duration of the
                                  11                  litigation; and (5) the personal benefit (or lack thereof) enjoyed by
                                                      the class representative as a result of the litigation.
                                  12
Northern District of California




                                       Covillo v. Specialtys Café, No. C-11-00594 DMR, 2014 WL 954516, at *8 (N.D. Cal. Mar. 6,
 United States District Court




                                  13
                                       2014) (internal citation and quotation marks omitted).
                                  14
                                              Here, Mr. Ramirez seeks a service award of $50,000 to $100,000. He has submitted a
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                                       declaration in support of his request which attests that he has had to take several days off from
                                  16
                                       work to meet with his attorneys, prepare for and give his deposition, attend settlement
                                  17
                                       conferences, and represent the class at the more than week-long trial. (Dkt. No. 322-1 at ¶ 2.) In
                                  18
                                       doing so, Mr. Ramirez lost income and risked losing his job as a union painter on construction
                                  19
                                       projects, as well as his health insurance because his union’s health plan requires him to work a
                                  20
                                       certain number of hours a month. (Id. at ¶¶ 2-3.) Mr. Ramirez has been involved in this action
                                  21
                                       from the very beginning when he contacted Plaintiff’s counsel after being denied a loan for a car
                                  22
                                       when his credit report returned with an incorrect OFAC Alert. (Id. at ¶ 1.) He is the only
                                  23
                                       individual who has stepped forward to represent the interests of the class and his efforts resulted in
                                  24
                                       an over $60 million damages verdict. Under these circumstances, a service award of $75,000
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                                       (inclusive of his individual damages recovery) which is .125 percent of the total damages award is
                                  26
                                       reasonable.
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                                          Case 3:12-cv-00632-JSC Document 345 Filed 11/07/17 Page 3 of 3




                                   1          This amount is reasonable both on its own and in comparison to the average class member

                                   2   recovery. The Ninth Circuit has cautioned that where there is a “very large differential in the

                                   3   amount of damage awards between the named and unnamed class members,” that differential must

                                   4   be justified by the record. Staton v. Boeing Co., 327 F.3d 938, 978 (9th Cir. 2003). The jury

                                   5   awarded each class member a total of $7,337.30 in damages ($984.22 in statutory damages and

                                   6   $6,353.08 in punitive damages). For a class of 8,185 individuals this amounts to a total of

                                   7   $60,055,800.50 in damages. A service award of $75,000 is 10.2 times higher than the individual

                                   8   class member recovery. While high, this amount is in line with other mega fund cases awarding

                                   9   service fees. See In re High-Tech Employee Antitrust Litig., No. 11-CV-02509-LHK, 2015 WL

                                  10   5158730, at *16 (N.D. Cal. Sept. 2, 2015) (approving of an incentive award where the ratio

                                  11   between service awards and class member recovery was 21 for one representative and 14 for the

                                  12   remaining class representatives); Lemus v. H & R Block Enterprises LLC., No. C 09-3179 SI, 2012
Northern District of California
 United States District Court




                                  13   WL 3638550, at *2 (N.D. Cal. Aug. 22, 2012), modified on reconsideration sub nom. Lemus v.

                                  14   H&R Block Enterprises LLC., No. C 09-3179 SI, 2012 WL 12946714 (N.D. Cal. Sept. 10, 2012)

                                  15   (awarding $15,000 as an incentive payment which was a 12.5 ratio to the recovery of individual

                                  16   class members).

                                  17          Accordingly, the Court concludes that based on the totality of circumstances present here,

                                  18   a discretionary service award of $75,000 (inclusive of his individual recovery) to Mr. Ramirez is

                                  19   appropriate.

                                  20          This Order disposes of Docket No. 322.

                                  21          IT IS SO ORDERED.

                                  22   Dated: November 7, 2017

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                                                                                                    JACQUELINE SCOTT CORLEY
                                  25                                                                United States Magistrate Judge
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